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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE THE COMPLAINT AND § C.A. NO. 4:10-ev-01721
PETITION OF TRITON ASSET LEASING §
GmbH, TRANSOCEAN HOLDINGS LLC, §
TRANSOCEAN OFFSHORE DEEPWATER §
DRILLING INC., AND TRANSOCEAN §
DEEPWATER INC.,AS OWNER, MANAGING § Fed. R. Civ. P. 9(h)
OWNERS, OWNERS PRO-HAC VICE, §

AND/OR OPERATORS OF THE MODU §

DEEPWATER HORIZON, INA CAUSE FOR §

EXONERATION FROM OR LIMITATION | -§. - -
OF LIABILITY § IN ADMIRALTY

AMENDED ORDER DIRECTING CLAIMANTS TO FILE AND
MAKE PROOF OF CLAIMS, DIRECTING THE ISSUANCE OF
MONITION, AND RESTRAINING PROSECUTION OF CLAIMS

Petitioners are Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean
Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as Owner, Managing Owners,
Owners Pro Hac Vice, and/or Operators, of the MODU Deepwater Horizon. Petitioners filed a
Complaint and Petition for exoneration from and limitation of liability on May 13, 2010 [Rec.
Doc. No. 1]. This Complaint and Petition involves the voyage of the Deepwater Horizon that
began on January 30, 2010, in federal waters at or near Mississippi Canyon Block 727, and
which ended on or about April 22, 2010, at or near Mississippi Canyon Block 252, with the
sinking of the Deepwater Horizon.

The Court has considered Petitioners’ Complaint and Petition, along with the affidavits of
value and pending freight filed with the Complaint and Petition. The Court finds adequate
factual support that the value of Petitioners’ interest in the Deepwater Horizon and its pending

freight at the end of the January 30, 2010 to April 22, 2010, voyage is TWENTY-SIX

(1]

limitation proceeding, unless its amount or sufficiency is contested. If the amount or sufficiency

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MILLION, SEVEN HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-THREE AND
NO/100 DOLLARS ($26,764,083 .00).

The Court has ordered Petitioners to file an Ad Interim Stipulation in the amount of
TWENTY-SIX MILLION, SEVEN HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-
THREE AND NO/100 DOLLARS ($26,764,083.00), with Ranger Insurance Company acting as
surety. Petitioners have filed the Ad Interim Stipulation, and the Court has approved the Ad

fnterim Stipulation. The Ad /nierim Stipulation will serve as security for all claims made in this

of the 4d Interim Stipulation is contested, the Court will appoint a commissioner to appraise the
value of Petitioners’ interest in the Deepwater Horizon and its pending freight. If the amount of
the Ad Interim Stipulation is sufficient after the commissioner’s appraisal, the Ad Interim
Stipulation will serve as a Stipulation for Value. If the amount of the Ad Interim Stipulation is
not sufficient after the commissioner’s appraisal, the Court will enter an Order confirming the
commissioner’s appraisal. Within ten (10) days of that Order, Petitioners will pay into the
Court’s registry the aggregate amount or value of Petitioners’ interest as the commissioner has
determined or Petitioners will file a bond or Stipulation for Value in the usual form with surety
in the aggregate amount or value of Petitioners’ interest as the commissioner has determined. It
is further,

ORDERED, that a directive issue out of and under the seal of this Court requiring that
Notice be provided to all persons claiming damages for any and all losses, injuries, damages and
destruction of property that occurred during the voyage of the Deepwater Horizon that began on

January 30, 2010, in federal waters at or near Mississippi Canyon Block 727, and which ended

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on or about April 22, 2010, at or near Mississippi Canyon Block 252, with the sinking of the

Deepwater Horizon, This Notice will require claimants subject to the Injunction, Stay and

Restraining Order herein to file their respective claims with the Clerk of this Court, and to serve

on or mail a copy of their claim to the attorney-in-charge for Petitioners, on or before November

15, 2010. The address for Petitioners’ attomey-in-charge is: Frank A. Piccolo, Preis & Roy,

A.P.L.C., Wesleyan Tower, 24 Greenway Plaza, Suite 2050, Houston, Texas 77046. It is further,

ORDERED, that no claims may be filed after November 15, 2010, except for good cause.

It is further,

ORDERED, that Petitioners will publish public Notice that they have filed their

Complaint and Petition, along with Notice of how those having claims must file those claims in

this proceeding. Petitioners will publish this public Notice in the Houston Chronicle, a

newspaper of general circulation published in the City of Houston, Texas, and within the

Southern District of Texas. Petitioners will publish this public Notice once a week for four

consecutive weeks before November 15, 2010. It is further,

ORDERED, that Petitioners shall mail a copy of the public Notice to every person known

to have made any claim or to have filed any actions against the Deepwater Horizon or Petitioners

arising out of the voyage of the Deepwater Horizon that began on January 30, 2010, in federal

waters at or near Mississippi Canyon Block 727, and which ended on or about April 22, 2010, at

or near Mississippi Canyon Block 252, with the sinking of the Deepwater Horizon, along with a

copy of the public Notice to these persons’ attorneys. Petitioners shall mail this actual Notice to

these persons and their attorneys no later than the date of the second publication of public Notice

in the Houston Chronicle. It is further,

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ORDERED, that the beginning or continued prosecution of any and all suits, actions or
legal proceedings in any jurisdiction other than this Court against Petitioners, the Deepwater
Horizon, in rem, their agents, officers, representatives, and their underwriters or against any
employee or property of Petitioners arising out of the voyage of the Deepwater Horizon that
began on January 30, 2010, in federal waters at or near Mississippi Canyon Block 727, and
which ended on or about April 22, 2010, at or near Mississippi Canyon Block 252, with the

sinking of the Deepwater are hereby ENJOINED, STAYED and RESTRAINED until the

hearing and termination of this proceeding. This injunction does not apply to any direct claims
asserted against Petitioners under the Oil Pollution Act, 33 U.S.C, § 2701, et seq. It is further,
ORDERED, that Petitioners may serve this Order as a Restraining Order within this
District by certified mail. Petitioners may serve this Order as a Restraining Order in any other
District by the United States Marshal for such District delivering a certified copy of this Order to
the person or persons to be restrained or to his or their respective attorneys. Petitioners may
serve this Order as a Restraining Order in any other District in the usual manner by mailing or
hand delivering a conformed copy thereof to the person or persons to be restrained or to his or

their respective attomeys. Petitioners may also serve this Order as a Restraining Order in any

other country by means of overseas air mail.

DONE at Houston, Texas, thise2¢ ote of > } Z tt , 2010,

HON. KEITH P. ELLISON
UNITEDSTATES DISTRICT JUDGE

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APPROVED ENTRY REQUESTED:

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ATTORNEY-IN-CHARGE FOR PETITIONERS
TRITON ASSET LEASING GMBH, TRANSOCEAN
HOLDINGS LLC, TRANSOCEAN OFFSHORE
DEEPWATER DRILLING INC., AND
TRANSOCEAN DEEPWATER INC.

[3]

